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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                Case No.: 0:23-cv-60756-CMA
   BYRON HIRTZEL,
          Plaintiff,
   v.
   NATIONSTAR MORTGAGE LLC
   d/b/a MR. COOPER,

           Defendant.
                                       /
             ORDER GRANTING AMENDED MOTION TO APPEAR
         PRO HAC VICE, CONSENT TO DESIGNATION AND REQUEST TO
        ELECTRONICALLY RECEIVE NOTICES OF ELECTRONIC FILING

          THIS CAUSE having come before the Court on the Motion to Appear Pro

   Hac Vice on behalf of Plaintiff, Byron Hirtzel for Daniel M. Solar, Consent to

   Designation, and Request to Electronically Receive Notices of Electronic Filing

   (the “Motion”), pursuant to the Rules Governing the Admission, Practice, Peer

   Review, and Discipline of Attorneys in the United States District Court for the

   Southern District of Florida and Section 2B of the CM/ECF Administrative

   Procedures.         This Court having considered the motion and all other relevant

   factors, it is hereby



          ORDERED AND ADJUDGED that:
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         The Motion is GRANTED. Daniel M. Solar may appear and participate in

   this action on behalf of Plaintiff Byron Hirtzel. The Clerk shall provide electronic

   notification of all electronic filings to Daniel M. Solar, at dsolar@dannlaw.com.



         DONE AND ORDERED in Chambers in Miami, Florida, this                          day
   of                                    .



                                          ____________________________________
                                          HONORABLE CECILIA M. ALTONAGA
                                          UNITED STATES DISTRICT JUDGE




   Copies furnished to: All Counsel of Record
